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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                           HON. MARK A. GOLDSMITH
v.                                                          Case No. 12-CR-20287

ALEXANDRA NORWOOD, et al.,

                  Defendants.
__________________________________/

                                             ORDER

         As discussed on the record outside the presence of the jury in the above-captioned matter

on July 11, 2014, July 14, 2014, and July 15, 2014, and recognizing that this case may be

submitted to the jury by Friday, July 18, 2014, the Court hereby orders as follows:

        The Government provided a copy of its motion for the admission of coconspirator
         statements to the Court and opposing counsel on Sunday, July 13, 2014, and it formally
         filed the motion on July 14, 2014 (Dkt. 694). To the extent Defendants want to respond
         to the motion, they must file their response by 7:00 p.m. on Tuesday, July 15, 2014.

        The parties shall endeavor to agree upon a verdict form for the jury to use. The
         Government has already submitted its proposal to the Court. If the parties are unable to
         agree on a verdict form — the Government’s proposal or otherwise — Defendants must
         submit their proposal to the Court on or before 11:59 p.m. on July 15, 2014.

        As discussed on the record before trial on July 11, 2014, Defendant Gills withdraws his
         first amended motion to allow defense witness testimony (Dkt. 678).

        Before trial on July 14, 2014, Defendant Norwood, through counsel, made an oral motion
         renewing his previous motion to sever his trial from that of Gills; all of the other
         Defendants — except Gills — joined in the motion. For the reasons stated on the record
         on July 14, 2014, the Court denies that oral motion.

        Defendant Jonathan Walker, through counsel, has suggested that some of the dates
         contained within Defendants’ motion for judgment of acquittal are incorrect (Dkt. 691).
         Defendants must submit either a notice of errata or an amended motion for judgment of
         acquittal — with only these inaccuracies corrected — on or before 7:00 p.m. on July
         15, 2014; and


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      Defendant Oldham, through counsel, e-mailed to court staff, the Government, and co-
       Defendants’ counsel a motion for admission of certain evidence on July 9, 2014. In his e-
       mail, Oldham’s counsel asked that the motion be filed under seal given purported
       concerns of a witness, who was discussed within the motion. However, Oldham never
       provided the Court with a formal motion to seal or a proposed order on sealing. As stated
       on the record on July 15, 2014, Oldham has withdrawn the motion and, therefore, it will
       not be filed on the docket — under seal or otherwise. The same goes for the
       Government’s response to the motion, which was similarly e-mailed to court staff and
       Defendants’ counsel.


       SO ORDERED.

Dated: July 15, 2014                                s/Mark A. Goldsmith
       Flint, Michigan                              MARK A. GOLDSMITH
                                                    United States District Judge

                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on July 15, 2014.

                                                    s/Deborah J. Goltz
                                                    DEBORAH J. GOLTZ
                                                    Case Manager




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